Case 5:20-cr-00209-JWH Document 34 Filed 11/03/21 Page 1 of 2 Page ID #:170
                                   FILED
                         CLERK, U.S. DISTRICT COURT



                            
                      CENTRAL DISTRICT OF CALIFORNIA
                             '%URZQ
                         BY: ___________________ DEPUTY
 
 
 
 
 
                                    81,7('67$7(6',675,&7&2857
                                  &(175$/',675,&72)&$/,)251,$

     81,7('67$7(62)$0(5,&$                                      &DVH1R 5:20-cr-00209-JWH

                                 3ODLQWLII                         25'(52)'(7(17,213(1',1*
                                                                  )857+(55(92&$7,21
                    Y                                         352&((',1*6
                                                                   )('5&5,03 D  
     ROBERT RANDALL,                                                86& D  

                 'HIHQGDQW

            7KHGHIHQGDQWKDYLQJEHHQDUUHVWHGLQWKLV'LVWULFWSXUVXDQWWRDZDUUDQW
                                                      CENTRAL
 LVVXHGE\WKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKHBBBBBBBBBBBBBBB'LVWULFWRI
 CALIFORNIA
   BBBBBBBBBBBBBBIRUDOOHJHGYLRODWLRQ V RIWKHWHUPVDQGFRQGLWLRQVRISUREDWLRQ
 RUVXSHUYLVHGUHOHDVHDQG
            +DYLQJFRQGXFWHGDGHWHQWLRQKHDULQJSXUVXDQWWR)HGHUDO5XOHRI&ULPLQDO
 3URFHGXUH D  DQG86& D  WKH&RXUWILQGVWKDW
 $         7KHGHIHQGDQWKDVQRWPHWKLVKHUEXUGHQRIHVWDEOLVKLQJE\FOHDUDQG
               FRQYLQFLQJHYLGHQFHWKDWKHVKHLVQRWOLNHO\WRIOHHLIUHOHDVHGXQGHU
               86& E RU F 7KLVILQGLQJLVEDVHGRQWKHIROORZLQJ
                       LQIRUPDWLRQLQWKH3UHWULDO6HUYLFHV5HSRUWDQG5HFRPPHQGDWLRQ
                        LQIRUPDWLRQLQWKHYLRODWLRQSHWLWLRQDQGUHSRUW V
                        WKHGHIHQGDQW¶VQRQREMHFWLRQWRGHWHQWLRQDWWKLVWLPH
                              Allegationof absconding;nobailresources;
                            RWKHUVXEVWDQFH
                                    DEXVHPHQWDOKHDOWKLVVXHVSULRUIDLOXUHVWRDSSHDUSULRU
                                    IXJLWLYHVWDWXV
                                                                  
Case 5:20-cr-00209-JWH Document 34 Filed 11/03/21 Page 2 of 2 Page ID #:171



             DQGRU
  %       7KHGHIHQGDQWKDVQRWPHWKLVKHUEXUGHQRIHVWDEOLVKLQJE\FOHDUDQG
             FRQYLQFLQJHYLGHQFHWKDWKHVKHLVQRWOLNHO\WRSRVHDGDQJHUWRWKHVDIHW\
             RIDQ\RWKHUSHUVRQRUWKHFRPPXQLW\LIUHOHDVHGXQGHU86&
               E RU F 7KLVILQGLQJLVEDVHGRQWKHIROORZLQJ
                 LQIRUPDWLRQLQWKH3UHWULDO6HUYLFHV5HSRUWDQG5HFRPPHQGDWLRQ
                  LQIRUPDWLRQLQWKHYLRODWLRQSHWLWLRQDQGUHSRUW V
                  WKHGHIHQGDQW¶VQRQREMHFWLRQWRGHWHQWLRQDWWKLVWLPH
                 RWKHU Extensivecriminalhistory;VXEVWDQFHabuse.

 ,77+(5()25(,625'(5('WKDWWKHGHIHQGDQWEHGHWDLQHGSHQGLQJWKHIXUWKHU
 UHYRFDWLRQSURFHHGLQJV

 'DWHG 1RYHPEHU                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                    BBBBBBBBBBBB
                                                      BBBBBBBBBBB
                                                                BBBBB BBB
                                                                      BBBBBBBB
                                                                      BBBB
                                            .(1/<.,<$.$72
                                                       .(1/< .,<<$ .$72
                                          81,7('67$7(60$*,675$7(-8'*(















                                               
